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 1                                                               JUDGE RICHARD A. JONES
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 3
 4
                              UNITED STATES DISTRICT COURT
 5
                             WESTERN DISTRICT OF WASHINGTON
 6                                     AT SEATTLE

 7   UNITED STATES OF AMERICA,                       )   No. CR21-140-RAJ
                                                     )
 8                               Plaintiff,          )
                                                     )   ORDER GRANTING UNOPPOSED
 9              vs.                                  )   MOTION TO CONTINUE TRIAL
                                                     )   AND PRETRIAL MOTIONS
10   BREANNE MACMENAMIN,                             )   DEADLINE
                                                     )
11                               Defendant.          )
                                                     )
12                                                   )
13
14          THE COURT has considered Defendant’s unopposed motion to continue the
15   trial date and pretrial motions deadline and finds that:
16          (a) taking into account the exercise of due diligence, a failure to grant a
17   continuance in this case would deny counsel for the defendant the reasonable time
18   necessary for effective preparation due to counsel’s need for more time to review the
19   evidence, consider possible defenses, and gather evidence material to the defense, as set
20   forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and
21          (b) a failure to grant such a continuance in this proceeding would likely result in
22   a miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and
23          (c) the additional time requested is a reasonable period of delay, as the defendant
24   has requested more time to prepare for trial, to investigate the matter, to gather evidence
25   material to the defense, and to consider possible defenses; and
26

                                                                  FEDERAL PUBLIC DEFENDER
       ORDER CONTINUING TRIAL DATE                                   1601 Fifth Avenue, Suite 700
       AND PRETRIAL MOTIONS DEADLINE - 1                               Seattle, Washington 98101
       (United States v. MacMenamin, CR21-140-RAJ)                                (206) 553-1100
               Case 2:21-cr-00140-RAJ Document 17 Filed 11/02/21 Page 2 of 2




 1          (d) the ends of justice will best be served by a continuance, and the ends of
 2   justice outweigh the best interests of the public and the defendant in any speedier trial,
 3   as set forth in 18 U.S.C. § 3161(h)(7)(A); and
 4          (e) the additional time requested between the current trial date of November 29,
 5   2021, and the new trial date is necessary to provide counsel for the defendant the
 6   reasonable time necessary to prepare for trial, considering counsel’s schedule and all of
 7   the facts set forth above.
 8          IT IS THEREFORE ORDERED that Defendant’s unopposed motion (Dkt. # 15)
 9   is GRANTED. The trial date in this matter is continued to March 7, 2022.
10          IT IS FURTHER ORDERED that all pretrial motions, including motions in
11   limine, shall be filed no later than January 20, 2022.
12          IT IS FURTHER ORDERED that the period of delay from the date of this order
13   to the new trial date of March 7, 2022, is excludable time pursuant to 18 U.S.C. §§
14   3161(h)(7)(A) and (h)(7)(B)(iv).
15
16          DATED this 2nd day of November, 2021.
17
18
19
                                                       A
                                                       The Honorable Richard A. Jones
20
                                                       United States District Judge
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                                                                 FEDERAL PUBLIC DEFENDER
       ORDER CONTINUING TRIAL DATE                                  1601 Fifth Avenue, Suite 700
       AND PRETRIAL MOTIONS DEADLINE - 2                              Seattle, Washington 98101
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